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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

CONRAD SMITH, et al.

                       Plaintiffs,

v.                                                   Civil Case No. 1:21-cv-02265-APM

DONALD J. TRUMP, et al.

                       Defendants.


                    MEMORANDUM OF LAW IN SUPPORT OF
                      DEFENDANTS’ MOTION FOR STAY

      President Trump, Donald J. Trump for President, Inc., and Make America

Great Again PAC have moved to dismiss all of Plaintiffs’ claims. It is inappropriate

to begin discovery before that motion is resolved, especially as President Trump has

raised the defense of absolute immunity, which is a bar to all burdens of litigation,

including discovery.

      Should this Court deny President Trump’s Motion to Dismiss, he will promptly

appeal that decision, as he has already done on the issue of absolute immunity in

three other similar cases currently pending in the D.C. Circuit. See Blassingame, et

al. v. Trump, No. 1:21-cv-00858 (APM), Dkt. No. 39; Thompson, et al. v. Trump, et al.,

No. 1:21-cv-00400 (APM), Dkt. No. 69; Swalwell v. Trump, No. 1:21-cv-00586 (APM),

Dkt. No. 60. Absolute presidential immunity is meant to guard against Article III

courts making value determinations affecting presidential actions. It is also meant to

avoid all the costs of litigation, including pretrial discovery obligations.




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      Therefore, Defendants respectfully request this Court stay all aspects of this

case in the District Court, including all potential discovery, for all parties, until

President Trump’s Motion to Dismiss and any appeal stemming from that decision

are finally resolved.


                                   BACKGROUND


      President Trump, the Trump Campaign, and Make America Great Again PAC

moved to dismiss Plaintiffs’ Complaint on December 23, 2021. The Court heard

argument on similar motions to dismiss in related cases on January 8, 2022.

Thompson v. Trump, 2022 WL 503384 (D.D.C. Feb. 18, 2022). On February 18, 2022,

the Court entered an order granting the motions to dismiss in part and denying them

in part. Id. at *53. In that order, the Court declined to afford President Trump the

constitutional protections of executive privilege. Id. at *18. Consequently, those

orders are now being considered on appeal before the U.S. Court of Appeals for the

D.C. Circuit. See generally Blassingame, et al. v. Trump, No. 22-5069, ECF No.

1940608 (D.C. Cir. appeal docketed Mar. 22, 2022) (ordering that the three cases be

consolidated for consideration of the appeal on the court’s own motion). It is likely

that the decision in that appeal will impact the Court’s decision in the pending

motions to dismiss in this case.

      Even though this Court has yet to issue a decision on the Motion to Dismiss,

Plaintiffs have requested a Rule 26(f) conference for the purposes of beginning

document collections and potentially beginning discovery. President Trump now



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requests this Court stay all proceedings until the motions to dismiss, particularly the

threshold issue of absolute immunity, are finally resolved. Plaintiffs oppose a stay

and wish to proceed to discovery through “document collection.”


                                     ARGUMENT


   I.      Discovery Cannot Begin Until President Trump’s Motion to Dismiss is
           Resolved.

        The D.C. Circuit has already determined that it is “generally considered

inappropriate” to begin discovery “while a motion that would be thoroughly

dispositive of the claims in the Complaint is pending.” Institut Pasteur v. Chiron

Corp., 315 F. Supp. 2d 33, 37 (D.D.C. 2004) (quoting Anderson v. United States

Attorneys Office, Civ. No. 91-CV-2262-LFO, 1992 WL 159186, at *1 (D.D.C. Jun. 19,

1992)).

        It is common for courts to grant stays where the resolution of a pending

dispositive motion could obviate the need for discovery entirely. See, e.g., White v.

Fraternal Order of the Police, 909 F.2d 512, 516–17 (D.C. Cir. 1990) (upholding the

district court’s stay of discovery pending resolution of defendants’ motion for

summary judgment); U.S. v. Manigault Newman, No. 19-CV-1868-RJL (Minute

Order Dec. 6, 2019) (staying discovery pending resolution of a motion to dismiss);

Moore v. Castro, 2016 WL 10674309, at *1 (staying initiation of discovery as well as

the Rule26(f) conference and Rule 16(b) scheduling order pending resolution of

defendants’ motion to dismiss). Further, Local Civil Rule 16-3(c) of this Court requires




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parties to a case to discuss whether the parties should jointly suggest a stay to the

Court when dispositive motions are pending.

         More importantly, the Supreme Court has been clear: “until a threshold

immunity question is resolved, discovery should not be allowed.” Harlow v.

Fitzgerald, 457 U.S. 800, 818 (1982); see also Crawford-El v. Britton, 523 U.S. 574,

598 (1998) (requiring that district courts resolve immunity disputes before allowing

discovery to proceed). Absolute immunity is designed to entitle a President (and other

specific defendants such as members of Congress and the Judiciary) to be spared from

all the burdens of litigation. See Mitchell v. Forsyth, 472 U.S. 511, 526 (1985)

(recognizing that immunity is an entitlement to avoid the burdens of litigation);

Nixon v. Fitzgerald, 457 U.S. 731, 746 (1982) (finding that immunity exists in

qualified and absolute form depending on the executive branch officials function and

protects from the burdens of litigation). Indeed, “the purpose of conferring absolute

immunity is to protect officials not only from the ultimate liability but also from the

time-consuming, distracting, and unpleasant aspects of a lawsuit, including

discovery.” District of Columbia v. Jones, 919 A.2d 604, 611 (D.C. 2007); see also

Chang v. United States, 246 F.R.D. 372, 374 (D.D.C. 2007) (early adjudication of

immunity disputes is necessary “to spare the official of the tribulation and expense of

defending the suit at all”).


   II.      Discovery in the whole case should be stayed as to all parties.

         This Court should stay the entire case pending the resolution of President

Trump’s Motion to Dismiss and any appeal resulting from that decision. Any

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discovery that begins as to any party in this case would undermine President Trump’s

absolute immunity. As soon as written discovery requests are exchanged, and

depositions are scheduled, President Trump will need to participate in the process by

objecting and examining deposition witnesses. Aside from being inefficient, this is the

precise type of litigation burden specifically prohibited by immunity. Consequently,

all discovery, as to all parties, should be stayed until the immunity issue is finally

resolved. See Nixon, 457 U.S. at 746; see also Jones v. Clinton, 879 F. Supp. 86, 87

(E.D. Ark. 1995), rev’d on other grounds, 520 U.S. 681 (1997) (“An appeal from a

denial of official immunity requires a stay of all proceedings pending resolution of the

appeal.”).


                                   CONCLUSION


      For the reasons outlined above, all discovery and related matters in this case

should be stayed pending the resolution of the motions to dismiss and, specifically,

until President Trump’s claim of absolute immunity is finally resolved.



Dated: July 27, 2022                           Respectfully submitted,

                                               /s/ Jesse R. Binnall
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                                   Attorney for Donald J. Trump, Donald
                                   J. Trump for President, Inc., and Make
                                   America Great Again PAC




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                           CERTIFICATE OF SERVICE


      I certify that on July 27, 2022, a copy of the foregoing was filed with the Clerk

of the Court using the Court’s CM/ECF system, which will send a copy to all counsel

of record.



                                              /s/ Jesse R. Binnall
                                              Jesse R. Binnall
                                              Attorney for Donald J. Trump Attorney
                                              for Donald J. Trump, Donald J. Trump
                                              for President, Inc., and Make America
                                              Great Again PAC
